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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                      CASE NO. 9:17-CV-80546-ROSENBERG/BRANNON

  WILLIAM HUBBARD, on behalf of himself
  and others similarly situated,

         Plaintiff,

         v.

  THOMPSON & SONS MOVING AND STORAGE, INC.,
  a Florida Corporation, SHAWN THOMPSON, individually, and
  MARCEN MORRIS, individually,

        Defendants.
  ____________________________________/

                                      STATUS REPORT

         Plaintiff, WILLIAM HUBBARD, by and through the undersigned counsel, pursuant to

  the Court’s December 12, 2017 Order, hereby advises the Court that the individual Defendants,

  SHAWN THOMPSON and MARCEN MORRIS’ Chapter 13 Bankruptcy proceeding filed on

  November 10, 2017 in the Southern District of Florida, Bankruptcy Case No. 17-23640-EPK

  remains active with an Amended Chapter 13 Plan having been filed on January 24, 2018,

  pending confirmation.



  Dated: February 23, 2018                  Respectfully submitted,

                                            s/HAZEL SOLIS ROJAS
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                                              Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

          I hereby certify that on February 23, 2018, I electronically filed the foregoing document
  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel of record identified on the attached Service List in the manner
  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in
  some other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Filing.

                                              s/HAZEL SOLIS ROJAS
                                              Hazel Solis Rojas



                                        SERVICE LIST
                 William Hubbard v. Thompson & Sons Moving and Storage
                     Case No. 9:17-CV-80546-ROSENBERG/BRANNON
                United States District Court for the Southern District of Florida

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